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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIAWAN BRITTON,                       )
                                      )
      Plaintiff,                      )
                                      )         CIVIL ACTION
v.                                    )
                                      )         FILE No. _____________________
METRO GROUP, LLC and                  )
TOWNSEND & GHEGAN                     )
PROPERTIES,                           )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, TIAWAN BRITTON, by and through the undersigned

counsel, and files this, his Complaint against Defendants METRO GROUP, LLC

and TOWNSEND & GHEGAN PROPERTIES pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendants’ failure to remove physical barriers to access and


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violations of Title III of the ADA.

       2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

       3.     Plaintiff TIAWAN BRITTON (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

       4.     Plaintiff is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Defendant METRO GROUP, LLC (hereinafter “Metro”) is a Georgia

limited liability company that transacts business in the State of Georgia and within

this judicial district.

       8.     Metro may be properly served with process via its registered agent for

service, to wit: Rehmat Merchant, 478 Milledge Gate Terrace, Marietta, Georgia

30067.

       9.     Defendant TOWNSEND & GHEGAN PROPERTIES (“T&G”) is,


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upon information and good faith belief, a partnership formed under the laws of the

State of Georgia.

      10.    T&G may be properly served via its general partner, to wit: Margaret

E. Townsend, 99 Twenty-Sixth Street, Atlanta, Georgia 30309-2004.

                           FACTUAL ALLEGATIONS

      11.    On or about August 11, 2021, Plaintiff was a customer at “Valero,” a

business located at 4455 Fulton Industrial Boulevard, S.W., Atlanta, Georgia

30336.

      12.    Metro is the lessee (or sub-lessee) of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      13.    T&G is the owner (or co-owner) of the Facility and Property

      14.    Plaintiff lives approximately eight (8) miles from the Facility and

Property.

      15.    Plaintiff’s access to the business(es) located at 4455 Fulton Industrial

Boulevard, S.W., Atlanta, Georgia 30336 (Fulton County Property Appraiser’s

parcel number 14F0052 LL0706), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations


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offered therein were denied and/or limited because of his disabilities, and he will

be denied and/or limited in the future unless and until Defendants are compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      16.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      17.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      18.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      19.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      20.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

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      21.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      22.   The Facility is a public accommodation and service establishment.

      23.   The Property is a public accommodation and service establishment.

      24.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      25.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      26.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      27.   The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      28.   The Property must be, but is not, in compliance with the ADA and

ADAAG.


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      29.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      30.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      31.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,


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services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      32.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      33.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.     The accessible parking space on the Property is missing proper

             identification signage, in violation of section 502.6 of the 2010

             ADAAG standards.

      b.     The accessible parking space on the Property and its adjacent

             access aisle are not adequately marked, in violation of sections

             502.1 and 502.3 of the 2010 ADAAG standards.


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c.   The access aisle adjacent to the accessible parking space on the

     Property is not level due to the presence of a ramp within the

     boundaries of said access aisle, in violation of section 502.4 of

     the 2010 ADAAG standards. Further, this access aisle is not

     level due to the presence of a 1” (one inch) concrete seam

     running through its boundaries, also in violation of section

     502.4 of the 2010 ADAAG standards.

d.   There is broken pavement and a vertical rise in excess of 1”

     (one inch) at the base of the accessible ramp on the Property, in

     violation of section 405.7 of the 2010 ADAAG standards.

e.   The side flares of the above-described ramp have slopes in

     excess of 1:10 (one to ten), in violation of section 406.3 of the

     2010 ADAAG standards.

f.   The accessible entrance to the Facility has a doorway that does

     not open to 90 (ninety) degrees, in violation of section 404.2.3

     of the 2010 ADAAG standards.

g.   The interior of the Facility has sales and services counters

     lacking any portion of which that has a maximum height of 36”

     (thirty-six inches) from the finished floor, in violation of


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             section 904.4 of the 2010 ADAAG standards, and due to further

             obstructions, have a reach depth exceeding 25” (twenty-five

             inches), in violation of section 308.2.2 of the 2010 ADAAG

             standards.

       34.   Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize the disabled accessible

parking space on the Property, more difficult and dangerous for Plaintiff to utilize

the ramp servicing the Property, more difficult for Plaintiff to enter and exit the

Facility, and more difficult for Plaintiff to transact his business while inside the

Facility.

       35.   The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

       36.   Upon information and good faith belief, Defendants fail to adhere to a

policy, practice and procedure to ensure that the Facility and Property are readily

accessible to and usable by disabled individuals.

       37.   The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and which exist at the


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Facility and Property.

      38.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      39.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      40.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      41.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      42.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants each have the financial resources to make the

necessary modifications.

      43.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be


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modified to comply with the 1991 ADAAG standards.

      44.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      45.    Plaintiff’s requested relief serves the public interest.

      46.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.

      47.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      48.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Metro Group, LLC in violation of the ADA and

             ADAAG;

      (b)    That the Court find Townsend & Ghegan Properties in violation of the

             ADA and ADAAG;


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(c)   That the Court issue a permanent injunction enjoining Defendants

      from continuing its discriminatory practices;

(d)   That the Court issue an Order requiring Defendants to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(e)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(f)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: November 2, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
                                The Law Office of Craig J. Ehrlich, LLC
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                                Atlanta, Georgia 30306
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 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

The undersigned hereby certifies that the foregoing document has been


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prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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